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UNITED STATES DISTRICT COURT

WESTERN DISTRICT oF TENNESSEE _
Western Division 05 AUG 29 m 9- ilt

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20298-Ml

KIMBERLY GOODMAN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, AUGUST 31, 2005 at 2:30 P.M. before United States Magistrate Judge S.
Thomas Anderson in Courtroom M-3, 9"' Floor, United States Courthouse and Federal Building,

167 North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the

United States Marshal and produced for the hearing.

Date: Augusr 26, 2005 M

TU M. PHAM
UNITED STATES MAGISTRATE .TUDGE

 

1If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(£)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attemey for the government or upon the judicial offlcel“s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,

injure, or intimidate a prospective witness or juror.
AO 4?0 {8/85) Order of Ternporary Detention

Thfs document entered on the docket sheet fn compliance
w|th Flu|e 58 and/or 79{a) FFtCP on '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20298 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

